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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                              UNITED STATES DISTRICT COURT                                 October 21, 2021
                               SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

MICHAEL J HEWITT                  §
and                               §
DAVID M DUGAS,                    §
                                  §
      Plaintiffs,                 §
VS.                               §                    CIVIL ACTION NO. 4:17-CV-02545
                                  §
HELIX ENERGY SOLUTIONS GROUP, INC §
and                               §
HELIX WELL OPS, INC.,             §
                                  §
      Defendants.                 §

          ORDER GRANTING MOTION TO STAY PROCEEINGS PENDING
      DISPOSITION OF DEFENDANTS’ PETITION FOR WRIT OF CERTIORARI

       The Court, having considered the defendants’, Helix Energy Solutions Group, Inc. and

Helix Well Ops Inc.’s motion to stay proceedings pending disposition of defendants’ Petition for

Writ of Certiorari, is of the opinion that good cause exists; therefore, it is hereby

       ORDERED that all proceedings are stayed until the earlier of: (1) the Supreme Court’s

denial of the petition for a writ of certiorari or (2) if the Supreme Court grants the petition, its

decision on the case.

       It is so ORDERED.

       SIGNED on this 21st day of October, 2021.


                                                   ___________________________________
                                                   Kenneth M. Hoyt
                                                   United States District Judge




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